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~ Teremy Vv. Pinson

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Lowbow, OK; 72sy) ,

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Fy
_UNITED STATES DISTRICT COURT CS
FOR THE WESTERN DISTRICT OF OKLAHOMA

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(To be supplied by the Clerk)
Vv.

ye il CIVIL RIGHTS COMPLAINT
- Deyiel . m llev- » Defendant (s) | _ PURSUANT TO 42 U.S.C.

A. JURISDICTION

y \levemy Pinson ,isacitizenof (AV L4HoW74
(Plaintiff)

OO (State)
who presently resides at O07 SE Flewermeanynd Ral,

Lé ko A O K 5 35-6 , Mailing address or place

of confinement)

2) Defendant D AV Ie d tn ler

a . (Name of first defendant) .
Laviton., OkKlahawe , and is employed as
(City, State)

LJ avden . At the time the claim(s)
(PoSsitition and title, if any)

alleged in this complaint arose, was this defendant acting under color of
State law? Yes Q No QO). If your answer is "Yes", briefly explain:

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Pourev 5 Posses’s ed by Virtue. ob Stake bas,

is a citizen of

XE-2 7/93

CIVIL RIGHTS COMPLAINT (42 U.S.C. §1983)
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Defendant Ro AJ Ula rq __. is.a citizen of
(Name of second defendant)
DUzhemAa City» DUhbema .andis employed as

(City, State)” a
— CorrechiuS At the time the claim(s)

. Position and title, if any) - . a
alleged in this complaint arose was this defendant acting under color of -

state law? Yes No. If your answer is "Yes" briefly explain:
be Cendan} whvsed avd hr aleched forJdervs

Possess al by Virtve of Sha be Lecter
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(Use the back of this page to furnish the above-information for additional
defendants.) oO

4) Jurisdiction is invoked -pursuant to 28 U.S.C. §1343(3); 42 U.S.C. §1988. =
(If you wish to assert jurisdiction under different or additional statutes,
_ you may list them below.)

B. NATURE OF THE CASE

1) Briefly state the background of your case.

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-. fimarvren Correchidbne) — Facrh'fy ty the

—lawhy forrechone/ Facility 0H S-Y-oS—

—follawine He Plainbtts vanes? for

——Of tae Aforementinned gene Tack Roth; Chad
Brawn and Randall Bede pay b-/-n4> ‘the
Plaiviwee ves pegthed pretechon fran Aese

r GAuG Members Ohd was reAsed the Permanent
lar diment lub Protechive Custody Aud

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_C. CAUSE OF ACTION

1) I allege that the following of my constitutional rights, privileges or ,
immunities have been violated and that the following facts form the basis I.
for my allegations: (If necessary you may attach up to two-additional pages
(8%" x 11") to explain any allegation or to list additional supporting facts.)

A) (1) Count I Bth Avaevdue ut “of the. USr
Constihotiag,

(2) Supporting Facts: (Include all facts you consider important,
including names of persons involved, places and date. Describe exactly -
how. each defendant is involved. State the facts clearly in your owh
words without citing legal authority or argument.)
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The Platutff but Ratled to fale Gehfon te
Protect the Plate as a transfer fe co

— héto [risen oy permanent PC. bulk tyuould har
Warranted,
B)(1) Count II: ALA .

(2) Supporting Facts:

N/A

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©) () Count I: VIA

(2) Supporting Facts:

_D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1) ‘Have you begun other lawsuits in state or federal court. dealing with the
same facts involved in this action or otherwise relating to the conditions of

your imprisonment? Yes No @& If your answer Is "Yes", describe

each lawsuit. (If there is more than one lawsuit, describe the additional
lawsuits on another piece of paper, using the same outline.)

a) Parties to previous lawsuit: _

Plaintiffs:

Defendants: . /

b) Name of court and docket number

c) Disposition (for example: Was the case dismissed? Was it appealed?
Is it still pending?) :

d) Issues raised

e) Approximate date of filing lawsuit

f).. Approximate date of disposition

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2). I have previously sought informal or formal relief from the appropriate
administrative officials regarding the acts complained of in Part C,

Yes ® NoQ . If your answer is "Yes", briefly describe how relief was
‘sought and the results. Jf your answer is "No", briefly explain why

administrative relief was not sought. The Cor revancte prec Cdvy- e.
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Never ovanted (See Ey | ‘Lis A+B).

E. REQUEST FOR RELIEF

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Noy believe that I am entitled to the following relief: -
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fom nesting the Plaintipe at the 3qme

Facitity QS Tock Roth, Randal Bowden o

Chad Broroy. |
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Signature of Attorney (if any)

MLA

(Attorney's full address and
telephone number.) _

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DECLARATION UNDER PENALTY OF PERJURY —

‘The undersigned declares (or certifies, verifies, or states) under penalty of —
perjury that he is the plaintiff in the above action, that he has read the above

complaint and that the information contained therein is true and correct. 28
U.S.C. § 1746. 18 U.S.C. § 1621. © Oo

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(Location)

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